                 Case 2:14-cr-00303-DC Document 81 Filed 11/30/17 Page 1 of 3


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 5 Attorney for:
   SESAR PRADO
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 14-0303-GEB
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                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 1/12/18 AT 9:00 A.M.
     SESAR PRADO,
13                                    Defendant

14
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, Jason Hitt, and
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     Defendant Sesar Prado, represented by Attorney Dina Santos hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on December 1, 2017.
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            2.      By this stipulation, defendant now moves to continue the status conference until January
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     12, 2018, and to exclude time between December 1, 2017, and January 12, 2018, under Local Code T4.
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     Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to continue to conduct
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            investigation, review the plea agreement, and to otherwise prepare for trial.
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                    b)       Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny them the reasonable time necessary for effective preparation, taking into
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            account the exercise of due diligence.
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                    c)       The government does not object to the continuance.
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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                 Case 2:14-cr-00303-DC Document 81 Filed 11/30/17 Page 2 of 3


 1                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of December 1, 2017, to January 12,

 6          2018 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 7          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 8          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 9          interest of the public and the defendant in a speedy trial.

10          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

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15          IT IS SO STIPULATED.

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18 Dated: November 30, 2017                                    PHILLIP TALBERT
                                                               United States Attorney
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20                                                             /s/ Jason Hitt
                                                               JASON HITT
21                                                             Assistant United States Attorney

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23 Dated: November 30, 2017                                    /s/ Dina L. Santos
                                                               DINA SANTOS, ESQ.
24                                                             Attorney for Sesar Prado

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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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              Case 2:14-cr-00303-DC Document 81 Filed 11/30/17 Page 3 of 3


 1                                                        ORDER

 2         IT IS SO FOUND AND ORDERED.

 3         Dated: November 29, 2017

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     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
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